
Lyons, Judge,
delivered the resolution of the court as follows:
The point debated was, whether there were proper parties to the cause, so as to enable the appellant, if he had any right, to assert it: and the court discovers no cause to find fault with the decision of the chancellor. For the appellant represents none of his predecessors, in the legal acceptation of the word, when a distribution of the personal estate of the decedent is called for, as he is neither executor nor administrator of either of them; and some, or all of them may owe debts, or may have devised their property into other directions, and not left it to the distribution of the law. For aught that appears to the contrary, there may be.executors or administrators, to some, or other of them, who ought to have an opportunity of being heard. Until this is done, the plaintiff shews no title; for even the administrator. of Christopher Moring, the elder, may be disposed to contest the legacy; and, without his consent, the plaintiff cannot be entitled to the property, unless, in the opinion of the court, the consent is unreasonably withheld. Besides, the executors or administrators of the predecessors of the plaintiff may have solid objections to make, on the score of creditors, and unadjusted claims, which ought to be discussed and finally disposed of, before the plaintiff, if he has any title, takes possession. As, therefore, the plaintiff has deft his case imperfect; and, if he has title, shews no right to present possession, the decree is unexceptionable.
Decree affirmed.
